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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE: PHILIPS RECALLED CPAP,                    )
 BI-LEVEL PAP, AND MECHANICAL                     )      Master Docket: Misc. No. 21-1230
 VENTILATOR PRODUCTS                              )
 LITIGATION,                                      )      MDL No. 3014
                                                  )
 This Document Relates to: All Actions            )



                                         JOINT NOTICE
        Pursuant to the Court’s Text Order of April 27, 2022, below please find a list of counsel

 speaking on behalf of the Plaintiffs and Defendants for the February 29, 2024 Status Conference.

Speaking on behalf of Plaintiffs:

Co-Lead Counsel:
Sandra Duggan (Levin, Sedran & Berman, LLP)
Kelly K. Iverson (Lynch Carpenter, LLP)
Steven Schwartz (Chimicles, Schwartz, Kriner & Donaldson-Smith, LLP)
Christopher A. Seeger (Seeger Weiss, LLP)

Co-Liaison Counsel:
D. Aaron Rihn (Robert Peirce & Associates, PC)
Peter St. Tienne Wolff (Pietragallo, Gordon, Alfano, Bosick & Raspanti, LLP)

Settlement Committee:
Lisa Ann Gorshe (Johnson Becker, PLLC)
Arthur H. Stroyd, Jr. (Del Sole Cavanaugh Stroyd LLC)

Time & Expense Committee:
Alyson L. Oliver (Oliver Law Group PC)

Other Participants:
David Buchanan (Seeger Weiss, LLP)
Shauna Itri (Seeger Weiss, LLP)
Alex M. Kashurba (Chimicles, Schwartz, Kriner & Donaldson-Smith, LLP)
Claire E. Kreider (Gainsburgh, Benjamin, David, Meunier & Warshauer, LLC)
Beena McDonald (Chimicles, Schwartz, Kriner & Donaldson-Smith, LLP)
Elizabeth Pollock-Avery (Lynch Carpenter, LLP)
Joyce Chambers Reichard (Kelly Ferraro, LLC)
Caleb Seeley (Seeger Weiss, LLP)
Keith Verrier (Levin, Sedran & Berman, LLP)
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Speaking on behalf of Philips RS North America LLC:
Lisa C. Dykstra (Morgan, Lewis & Bockius, LLP)
Wendy West Feinstein (Morgan, Lewis & Bockius, LLP)
Emma Diamond Hall (Morgan, Lewis & Bockius, LLP)
Laura Hughes McNally (Morgan, Lewis & Bockius, LLP)
Amanda B. Robinson (Morgan, Lewis & Bockius, LLP)

Speaking on behalf of Other Philips Defendants:
Michael H. Steinberg (Sullivan & Cromwell LLP)
Tracy Richelle High (Sullivan & Cromwell LLP)

Speaking on behalf of Polymer Technologies, Inc. and Polymer Molded Products, LLC:
William A. Crawford (Franklin & Prokopik, PC)


DATED: February 27, 2024                     Respectfully submitted,

                                             /s/ D. Aaron Rihn
                                             D. Aaron Rihn, Esquire
                                             PA Bar No.: 85752
                                             ROBERT PEIRCE & ASSOCIATES, P.C.
                                             707 Grant Street, Suite 125
                                             Pittsburgh, PA 15219
                                             Telephone: 412-281-7229
                                             Fax: 412-281-4229
                                             arihn@peircelaw.com

                                             Co-Liaison Counsel
